Case 2:24-cv-00080-JRG Document 52-5 Filed 09/18/24 Page 1 of 4 PagelID #: 1003

EXHIBIT 3
| Hilton | Language English ~ _Find Stay Join | Sign In
Eten -74-cv-00080-JRG Document 52-5 Filed 09/18/24 Page 2 of 4 PagelD #: TOod

Your Stay Hampton Inn Marshall (©) Mon, Dec 9 — Fri, Dec 13, 2024 (4 nights) pA froomfortadult Edit Stay

Step 2 of 3

Select a Rate

[| Use Points & Money

Prices shown are average per night. Select currency @® USD - US Dollar v |

Hampton Inn Marshall
5100 South East End Boulevard
Marshall, Texas 75672 USA ©

Honors Escape and Explore

$110 Rate details > Honors Discount Hotel details >
Stay 3 or more nights and save up to 20% off. Hilton Honors Membership Not available

Required. 1 King Bed Nonsmoking

Change Room

Select a Rate
Escape and Explore

Stay 3 or more nights and save up to 15% off.

Payment and Guest Details
Honors Discount
Not available

Flexible Rate

Honors Discount

é

Change or cancel up to 1 day before arrival. Free breakfast.

$135 Rate details >

Semi-Flex Honors Discount

3

Change or cancel up to 5 days before arrival. Free breakfast.

$133 Rate details >

Non-refundable Honors Discount

z

Free breakfast. No cancellations. Pay now.

$120 Rate details >

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2X Points

Change or cancel up to 1 day before arrival. Earn Double Hilton Honors Points. Hilton Honors
Membership Required.

$147 Rate details >

How can we help? Hilton Honors Discount Terms & Conditions ©] Modern Slavery and Human Trafficking &

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1 King Bed Nonsmoking Guarantee policy

1 adult
There is a Credit Card required for this reservation.

Price in $USD

lf you use a debit/credit card to check in, a hold may be placed on your card
1 King Bed Nonsmoking account for the full anticipated amount to be owed to the hotel, including estimated
09 Dec 2024 $104.80 incidentals, through your date of check-out and such hold may not be released for
10 Dec 2024 $124.80 72 hours from the date of check-out or longer at the discretion of your card issuer.
Ti Dec 2024 $108.00
1? Dec 20274 $105.60 Cancellation policy
Total room charge $443.20

Free cancellation before 11:59 PM local hotel time on 10 Sep 2024.
13.00 % per room, per night

Total taxes $57.62 At check in, the front desk will verify your check-out date. Rates quoted are based

on check-in date and length of stay. Should you choose to depart early, price is
subject to change.

ota) [ate § :
ee Total for stay: $500.82 We reserve the right to cancel or modify reservations where it appears that a

customer has engaged in fraudulent or inappropriate activity or under other
circumstances where it appears that the reservations contain or resulted from a
mistake or error.

Totals listed here are estimated based on current taxes and exchange rates (if
applicable) and do not include additional fees/charges that may be incurred during
your stay.

as

‘v+ Optional services for an additional charge

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Baptist ©
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Harrison
County ©
Airport ~~“

Marshall RV Park
Top rated

Cypress Valley

oO Heritage, Hous
Bible Church

~~ Marshall Healt

O Hampton Inn Marshall

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